Case 1:12-cv- 117

O 6-T.]S Document 66 Filed 02/27/15 Page 1 of 1
IN THE UNITED STATES DISTRICT COURT .
FOR THE DISTRICT OF MARYLAND
JANICE SHOCKEY, et al

 

*
Plaintiff

V.

Case No. TJS-12-1176
DOCTORS EMERGENCY SERVICES,
P.A., et al
' Defendant

**$*$*

ORDER OF JUDGMENT,

The jury having returned a verdict in favor of the Defendants, Doctors Emergency

Services, P.A. and David Andrew Mooradian against the Plaintiff, Janice Ann Shockey it is this gé'}/L’
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Judgment is entered in favor of Defendants, Doctors Emergency Services, P.A.

and David AndreW Mooradian against Plaintiffs, Janice Ann Shockey With costs; and
2.

Any and all prior rulings made by the Court disposing of any claims against any

parties are incorporated by reference herein,_and this Order shall be deemed to be a final
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judgment Within the meaning of Fed. R. Civ. P. 58.

 

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T¢mothy J. Sulhvan

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United States Magistrate Judge

Order of _Iudgment (in favor of Defcndant) (Rev. 12/2000)

